Case 1:19-cv-24138-DPG Document 1-1 Entered on FLSD Docket 10/08/2019 Page 1 of 5

UA Depertevest of Memclaad Seoeriy
24000 Avile Real, 2* Floor
Lape Nigel CA 90877

——

 

Dwe FEB OS 209
Scveth Atlantic Center
C/O Joaeph J. W.
10) Pughese’s Way
Delray Beach, FL 33444
Appticatica: 1-924, Application Por Regional Ceaser Vader the Immigrant Investor Program
Appticane(s): Joseph J. Walsh os
Re REQUEST TO AMEND REGIONAL CENTER DESIGNATION
Sovath Atlantic Regional Center

RCW ILIVESO343 / AC ID10S 1910582

Added tehusery Categories: =|. Nonrexidential Building Comtrection (NAICS 242)
2. Architectural, Engineering, and Related Services (NAICS $413)

Amended Geographic Arca: Geographic area expanded to lnclade the Florida cowncies of Broward and

L_Beecutive Summary of Adjedtic ations

Bicctive February 5, 2015. the regiomal center is appeoved with the geographic scope hat inchodes the

Sate Commales Approval Date
Phoetda Palm Beach | May 27, 2010
Floeida Broward, Dade Bebeuary 5, 1015

Nowe: If any lnvesiners opporcanities arne that are outside the appeared geographic then 22 amendmen:
would be required to add chat area. “—

Effective February 5, 2035, the center ts authorized wm foces
al regional to Investment activities i the incdasry

ledustry Category NAICS Approval Date
Hoses 724 May 27, 2010
Matufacturing | 35 May 27, 2010
Retail Stopping Cercers 4445 May 27, 2010
Restaurants 722 May 27, 2010

wwrescia gor
Case 1:19-cv-24138-DPG Document 1-1 Entered on FLSD Docket 10/08/2019 Page 2 of 5

Sort Atlantic Regional Censer / RCW! 129850343 / 1D10319101 82

Page 2 of S
Cesera) Retail 4a May 27, 2010
| Offices ~~ $xae May 27, 2010 |
Medical Offices 621 May 27,2010 |
- Asatited /)eursing Homes 623 May 27,2010
Noaiedtheead baddine Cone sion i 2M2 _ Sebruary 5, 2013
| Archivectsral Bngimeeritg, aad Relaned Services $413 February 5, 2013
Th Procedural Misory of South Atlantic Regional Center

Os 27. 2010, South Atlantic Regional Center desigeated by USCIS regional under the

Solkvwing acces
Seate Counties Approval Dace
Florida Pals Beach ; May 27, 1020
Pronda Beoward, Dade February 5, 2013

Indestry Category NAICS Approval Dare

Muanudacruriay t—_y— mi sis

y 27, 203
| Retail Shopping Centers i 4445 May 27, 2010
Rees | 722 May 27, 2010
Coneral Retail 44S May 27, 2010
Offices 5241 May 27, 2010

Medical Offices 462i } May 27, 2010

ers eng ening Fesges | 623 May 27, 2010

Bull€ing Comtrection 2362 February 52013

_ Archutecteral, Bngimeeriag, acd Related Services 5415 __ February §,2013 0 «

Note: Df any investment artee chat are beyond the scope of the approved indusry categories, thes

The following Project was appeoved as 4 Capital Investment Project for the regional center:

Scesth Mtved Use I May 27, 1010
(Shoppang and Office Facslities)

* Note: any changes to the supporting evidence for this project found in subsequem Form 1-526 Peckioe or
Form 1-829 Petition: will be reviewed by USCIS to ensure compllance with IB-S program requiremencs.

TL_Ameardimens Appiication Cerrentty Under Review by USCIS

Seuigats tovunar Fie Shag ending th ead ae cre Seenraes Sex Degen Comet Dae te
Immigrant Invessor Pilet Program seeking to amend approval designation by US Orizensihip
Immigration Services (USCIS) of South Atlantic Reguonal Cente ar follows
Case 1:19-cv-24138-DPG Document 1-1 Entered on FLSD Docket 10/08/2019 Page 3 of 5

South Adantic Regional Comer / RCW1 129850345 / 11031910182

Page 3 of §
Additioma) Categories: South Atlantic Regional Center has requested and sebenitied
beste plan and supporting econemnic analysis thas le will engage in the folowing added tndusny
> Nonresidential Construction (NAICS 2362); Archinecceral, Engineering, and
Related Services (NAICS $41 5)

geographic area to include the Florida corenties of Broward and Dade.

USCIS, hereby, approwes the South Atlanic Regional Center amendment to incorpoeste the above requested
mp te impede ery oe meena d to the evidence for his application
in vebsoquent Foer 1-526 or Forms [-£29 Petitions will n ensure compliance with

1-5 program requirements.
A 1-924 Approval Based on Curremt Amendment

The current application requesting to amend the regional center designation is approved based oa a business

plsn for a bypothetical project, it Is sot a compeebersive business plan as described in Matter of Ho. DLL AN.,
Dee. 206, Asoc. Comen'r 1998.

The poseatial job creation was estimated using RIMS 0 fieal demand mulcpliers, and the appropriace NAICS
codes. The three inpets taken from the bexiness plan are the hard and soft consruction costs and the projected
total revenue al the 2* pear of operations coavered wm 1008 dollars

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

NAICS Code Crixical Assumption Used Reselt/Moéel Inpet
5,000 square feet
a $195 per square fooe (RS Means) $1.00 millon expenditure
$,000 square feet
$41) $2) per square foce $9.10 milboo expenditure
5,000 square fret
725 $726 per mquare foot $5.5 million revenue
Cosrretted %© 2008 dollar terms
Activity NAICS Input Multiptier | Tosal Jobs
Maré Comstructioa 2361 $1.00 millica 8a &s*
Soft Coase uction Sais $0.10 meillice 953 1.0*
| Operations 722% $3.5 million 24.69 as
*indwect and induced jots only.

If a new economic model ts used. or inputs have changed at the time of filing individual seemigrant investor's
Form 1-526 Petston(s), the sew evidence that is being used to establish indirect job creation mrast be sobmitted
and ic rast in@icate Ge member of jobs that will be created as a result of the capital tnveatrnere. USCIS will
review the pew evidence to determme its compliance with EBS mavete and regulatons
Case 1:19-cv-24138-DPG Document 1-1 Entered on FLSD Docket 10/08/2019 Page 4 of 5

South Aduntic Regional Cerner / KCW1129850543 / 11031930182
Page 4 ofS

IY. Guidelines for Filing Form 1-52¢ Petitions

Each tndivideal Porm 1-526 petition, tm order to demonsrane that it is associated with the Regional Center, i=
conjenctoa with addreming a the requirernests for am tedividesl immigrant investor petition, shal abo
commtale as seppoeting evidence relating to this Regional Center designation, the following:

t. Acopy of thas lemer, the Regional Comer approval and designation.

2. A compreBensive busioes plin as defined ts Mauer of Mo, 22 1. & N, Dec. 206, Assoc. Comm'r 1998,
ated at contemplated by the regulstions. & should contain, at a minimum, « dexcripdon of the
bresiness, ite peoducts and/or services, and its objectives. The plan should commain a market analysis,
(ncludeeg the names of competing businesses and their relacive strengths and weakmestes, « cotupurnon
of he competition's prodects and pricing urectures, and a descripdon of the weget marbet/ prospective
cestoeners of the new commsercis] emerprise, The plan should lst the required permits and licemes
Obulned. applicable, it should describe the manufacturing of peoduction process, the material
required, and the sepply svcrore The plan should detail any comtracts executed for the supply of
tmuterial and/or the ditribution af prodects It should discuss the mackering strategy of the bestness,
inchaeding pricing, advertising, and servicing The plan shoold set forth the business's organizational
“rocture abd its peronne!’s experience. 1 should explain the business's uaffing requirements and
comtain « Gsetable Se hiring, ax well as job descriptions for all postions It should coarain sales, com,
and Locome projections and provide information relevant to that particular business. Most importantly.

the business plan must be credible.
5, A copy of the fob creation ee 8 CFR 204.4(j)(4)(lit). This may be atmniler to the
eb creation methodology a+ wm che Regional Center eoomcmaic analysis bused con he RIMS 8

tiodel (Dated December 11, 2012), if appropriate foe the bextness plan sobmined with the Form I:
$26, of ® my be esother reasonable job creation methodology, demonstrating that the
tevesmen: by an individual Wmmrtigrant tevestor will create noe fewer dun ten (10) full-time
employment positions, ether directly or indirectly.

4. A legally executed copy of the cegunizstional documents

& Private Placement Memoraadam, (No Sample was Provided)
b. Subscription Agreement; (No Samphe was Provided)
c Limited Partnership Agreement, and (No Sample was Provided)
d. Escrow Agreemens. (No Sample was Provided)

section 610(a) of the Appropriations Act, a regicaal center must provide USCS with updated information

demonstrate the regional center ts continsing to promote economic growth, ixproved regional productivity
job creation, and increased Gormestic lowesement is the appeoved geographic area. Sech ieformation
must be submitted so USCIS ca an basis, on 2 currvalative basis, as otherwise requested by USCIS
South Atlantic Regional Center must monitor al investmem activities ender the sponsorship of the Regional
Center and to maintate records tn order t provide the information required oa the Form !-924A Supplement
to Farm 1-924 (Form 1-924A Supplement). Roem 1-924A, Supplement to Form 1-924 Application ts avaliable in
the “Forms” section on the USCIS webeie at www usis gov. Effective November 23, 2010, che fadure w
timely file a Form 1-924A Supplemens for each fiscal pear in which the regional conser has been designared for
participation in the lmenigrant Investor Plot Prograse will resuk in the tewance of an intert to terminate the

participation of the regional center in the Milt Program, which easy ultimately resuk & the termination of the

As provided in 8 CFR 204.6(m)(6), 90 ensure char che regional center comtimocs to meet the requiremens of
©

:
Case 1:19-cv-24138-DPG Document 1-1 Entered on FLSD Docket 10/08/2019 Page 5of5

South Adaatic Regional Cemer / RCW1 129850343 / 1D1031910182
Page Sof $

designation of the regional cenver.

Note: Regional centers that remain desigeated for participation in the pilot peogram as of September J0* of «
cakadar year are required to Mile Form 1-924A Supplement in Gut year.

required supporting documencation mrest be filed on ce before December 29° of the same calendar year.
Regional Center designation is now-cransferable, as any changes in management of

require the approval of an amendment to the approved Regional Center designation.
qeestions comceraing the Kegional Center designation under the bemigrent lovestor Pike Program, please
comtact the USCES by Email ot USCIS LnmaigrantlercstorProgramdidihs gor.

Daniel M. Renand, Acting Director
California Service Conner

oc: David Derrico, Beq,

 
